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 Counsel to the Liquidating Debtors

                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY


     In re:                                                  Chapter 11

     Tri Harbor Holdings Corporation (f/k/a Aceto            Case No. 19-13448 (VFP)
     Corporation), et al.,1

                            Liquidating Debtors.             (Jointly Administered)


           APPLICATION FOR ENTRY OF STIPULATION AND CONSENT ORDER
         RESOLVING (A) CLAIM NO. 191 FILED BY BERRY’S CREEK STUDY AREA
          COOPERATING PRP GROUP, (B) CLAIM NO. 261 FILED BY THE UNITED
             STATES OF AMERICA, ON BEHALF OF THE ENVIRONMENTAL
         PROTECTION AGENCY, UNITED STATES DEPARTMENT OF COMMERCE
           ACTING THROUGH THE NATIONAL OCEANIC AND ATMOSPHERIC
            ADMINISTRATION, AND UNITED STATES DEPARTMENT OF THE
        INTERIOR, AND (C) CLAIM NO. 264 FILED BY NEW JERSEY DEPARTMENT
                        OF ENVIRONMENTAL PROTECTION

          The above-captioned liquidating debtors (collectively, the “Liquidating Debtors”), by and

 through their undersigned counsel, submit this application (the “Application”) in lieu of a motion

 pursuant to D.N.J. LBR 9021-1(b) for entry of the Stipulation and Consent Order Resolving (A)

 1
   The Liquidating Debtors in these chapter 11 cases and the last four digits of each Liquidating Debtor’s taxpayer
 identification number are as follows: Tri Harbor Holdings Corporation (f/k/a Aceto Corporation) (0520); Tri Harbor
 Chemical Holdings LLC (f/k/a Aceto Agricultural Chemicals LLC, f/k/a Aceto Agricultural Chemicals Corporation)
 (3948); Tri Harbor Realty LLC (f/k/a Aceto Realty LLC) (7634); Kavod Pharmaceuticals LLC (f/k/a Rising
 Pharmaceuticals, LLC, f/k/a Rising Pharmaceuticals, Inc.) (7959); Kavod Health LLC (f/k/a Rising Health, LLC)
 (1562); Kavris Health LLC (f/k/a Acetris Health, LLC) (3236); KAVACK Pharmaceuticals LLC (f/k/a PACK
 Pharmaceuticals, LLC) (2525); Arsynco, Inc. (7392); and Acci Realty Corp. (4433).

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 Claim No. 191 Filed by Berry’s Creek Study Area Cooperating PRP Group (the “PRP Group”),

 (B) Claim No. 261 Filed by the United States of America, on Behalf of the United States

 Environmental Protection Agency (“EPA”), the United States Department of Commerce acting

 through the National Oceanic and Atmospheric Administration (“NOAA”), and the United States

 Department of the Interior (“DOI”) (with the DOI, EPA, and NOAA, collectively, referred to

 herein as the “United States”), and (C) Claim No. 264 Filed by New Jersey Department of

 Environmental Protection (the “State” or “New Jersey” or “NJDEP”) (the “Stipulation and

 Consent Order”),2 a copy of which is attached hereto as Exhibit A, entered into by and between

 the Liquidating Debtors, the United States, New Jersey, and the PRP Group. In support of this

 Application, the Liquidating Debtors respectfully state as follows:

                  JURISDICTION, VENUE, AND STATUTORY PREDICATES

         1.       This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and

 1334 and the Standing Order of Reference to the Bankruptcy Court Under Title 11 of the United

 States District Court for the District of New Jersey, entered on July 23, 1984 and amended on

 September 18, 2012. Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

 This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

         2.       The statutory predicates for the relief sought herein are section 105(a) of title 11

 of the United States Code, 11 U.S.C. §§ 101, et. seq. (the “Bankruptcy Code”), and Rule 9021-

 1(b) of the Local Bankruptcy Rules of the United States Bankruptcy Court for the District of

 New Jersey (the “Local Rules”).




 2
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Stipulation
 and Consent Order and/or the Plan (as defined herein).



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                                        BACKGROUND

 I.     General Background

        3.      On February 19, 2019 (the “Petition Date”), each of the Liquidating Debtors filed

 a voluntary petition for relief under chapter 11 of the Bankruptcy Code in this Court, thereby

 commencing these chapter 11 cases (the “Chapter 11 Cases”).

        4.      Additional details regarding the Liquidating Debtors’ businesses and the facts and

 circumstances surrounding the commencement of the Chapter 11 Cases are set forth in the

 Declaration of Rebecca A. Roof in Support of First Day Relief [Docket No. 19] and in the

 Disclosure Statement (as defined below).

        5.      On September 18, 2019, this Court entered an order (the “Confirmation Order”)

 [Docket No. 996] approving on a final basis the Second Modified Disclosure Statement for the

 Second Modified Joint Plan of Liquidation of Aceto Corporation and Its Affiliated Debtors

 [Docket No. 758] (the “Disclosure Statement”) and confirming the Second Modified Joint Plan

 of Liquidation of Aceto Corporation and Its Affiliated Debtors (the “Plan”) [Docket No. 757].

 The Plan became effective as of October 1, 2019 at 12:01 a.m. (ET) (the “Effective Date”).

        6.      Pursuant to section 5.09(c)(ii) of the Plan and section 2.1(c)(ii) of the Plan

 Administrator Agreement, the Plan Administrator, on behalf of the Liquidating Debtors, is

 authorized to administer, reconcile, object to, and settle or otherwise litigate to resolution all

 Claims (as defined in the Plan) against the Liquidating Debtors, subject to the rights of the

 Oversight Committee (as defined in the Plan) as set forth in the Plan and the Plan Administrator

 Agreement

        7.      Pursuant to section 5.14(a)(ii) of the Plan, as amended by the First Amendment to

 the Plan Administrator Agreement, the Plan Administrator is required to consult with and seek

 the reasonable consent of the Oversight Committee (such consent not to be unreasonably


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 withheld) regarding, among other things, the settlement or resolution of any Claims or Causes of

 Action to the extent that the Plan Administrator proposes a settlement in the amount of $200,000

 and above.

        8.      The settlement of the claims set forth herein and in the Stipulation and Consent

 Order falls above this threshold. Accordingly, the Plan Administrator has consulted with and

 obtained the consent of the Oversight Committee with respect to the settlement contained in the

 Stipulation and Consent Order.

 II.    Former Arsynco Facility and the Class 3C General Unsecured Claims
        Asserted Against Arsynco
        9.      Liquidating Debtor Arsynco, Inc. (“Arsynco”), a wholly-owned subsidiary of

 Liquidating Debtor Aceto, owned a 12.3-acre parcel of property located at 511 13th Street in

 Carlstadt, New Jersey (the “Carlstadt Property” or “Former Arsynco Facility”).

        10.     The Former Arsynco Facility was closed in 1993. Arsynco sold the Carlstadt

 Property to 511 Thirteenth Street LLC (the “Purchaser”) pursuant to an Order entered by the

 Court on September 5, 2019 approving the sale (the “Arsynco 363 Sale”). See Order (i)

 Authorizing and Approving Private Sale of Debtor Arsynco’s Property Free and Clear of Liens,

 Claims and Encumbrances, Subject to Higher and Better Offers, (ii) Authorizing the Assumption

 and Assignment of Certain Contracts with BASF Corporation, (iii) Authorizing the Payment of

 Brokers Commission, and (iv) Granting Related Relief [Docket No. 951].

        11.     Prior to the Arsynco 363 Sale, Arsynco had complied with certain environmental

 remediation obligations in connection with the Carlstadt Property. Following the closing of the

 Arsynco 363 Sale to the Purchaser in late 2019, the Purchaser agreed to comply with remediation

 obligations with respect to the Carlstadt Property.

        12.     In March 2006, Arsynco received notice from the EPA of its status as a

 potentially responsible party (“PRP”) under the Comprehensive Environmental Response,

 Compensation, and Liability Act of 1980, 42 U.S.C. § 9601 et seq. (“CERCLA”) for a site



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 described as the Berry’s Creek Study Area operable unit of the Ventron/Velsicol Superfund Site,

 located in Bergen County, New Jersey (the “BCSA”). There are over 150 PRPs with potential

 liability for the required investigation and remediation of the BCSA.

        13.     In July 2014, Arsynco received notice from the DOI regarding the DOI’s intent to

 perform a Natural Resource Damage (“NRD”) Assessment at the BCSA. Arsynco declined to

 participate in the development and performance of the NRD assessment process and did not

 stipulate to any liability with respect to such NRD assessment process.

        14.     In connection with these Chapter 11 Cases, the United States, on behalf of EPA,

 NOAA, and DOI, NJDEP and the PRP Group (collectively, the “Environmental Claimants”)
 each have asserted general unsecured claims (the “Asserted Arsynco Environmental Claims”)

 against Liquidating Debtor Arsynco, under CERCLA, and in connection with the BCSA and the

 Former Arsynco Facility.

        15.     The Asserted Arsynco Environmental Claims are contained in the following three

 (3) filed proofs of claims as follows:

                (i)     Claim No. 261 filed by the United States against Arsynco (the “United
                        States Proof of Claim”) and asserted under CERCLA in a liquidated
                        amount of $17,772,837.00 (plus other asserted unliquidated amounts) for:
                        (a) response costs incurred or to be incurred by the United States; and (b)
                        natural resource damages and assessment costs asserted;

                (ii)    Claim No. 191 filed by the PRP Group against Arsynco (the “PRP Group
                        Proof of Claim”) and asserted in a liquidated amount of $1,430,000.00
                        (plus future unliquidated amounts) and contending, inter alia, that
                        Arsynco is liable under CERCLA for response action, response costs, and
                        damages for injuries to natural resources at the BCSA; and

                (iii)   Claim No. 264 filed by the NJDEP against Arsynco (the “New Jersey
                        Proof of Claim”, and together with the United States Proof of Claim and
                        the PRP Group Proof of Claim, collectively, the “Proofs of Claim”)3 and
                        asserted in a liquidated amount of $8,215,662.00 (plus other unliquidated
                        amounts) and contending, inter alia, that Arsynco is liable under
                        applicable federal and state environmental statutes and regulations

 3
    Copies of Claim Nos. 191, 261, and 264 are available on the Claims Agent’s website, at
 https://cases.primeclerk.com/aceto/Home-ClaimInfo.



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                          including the New Jersey Spill Compensation and Control Act, N.J.S.A.
                          58:10-23.11 to -23.24, and CERCLA for, among other things, natural
                          resource damages, remediation costs, and assessment costs in connection
                          with the BCSA and/or the Former Arsynco Facility.


         16.     The Liquidating Debtors disagree with the contentions set forth in each of the

 Proofs of Claim and, but for the agreements set forth in the Stipulation and Consent Order,

 would dispute, in whole or in part, any liability with respect the Proofs of Claim.

         17.     Other than the Proofs of Claim (which claims are proposed to be resolved as set

 forth in the Stipulation and Consent Order), only two other parties, JMC Environmental

 Consultants, Inc. (“JMC”) and James Dillon (“Dillon”), filed and hold allowed Class 3C General

 Unsecured Claims against Arsynco.

         18.     JMC holds an allowed Class 3C General Unsecured Claim, Claim No. 63, in the

 amount of $1,750.00 (the “Allowed JMC Claim”) and Dillon holds an allowed Class 3C General

 Unsecured Claim, Claim No. 126, in the amount of $2,369.25 (the “Allowed Dillon Claim”, and

 together with the Allowed JMC Claim, collectively, the “Allowed Arsynco Service Claims”).

         19.     As of the date hereof, the Arsynco Net Distributable Assets available for

 distribution to holders of allowed Class 3C General Unsecured Claims against Arsynco consists

 of cash in the approximate amount of $539,000.00 (the “Arsynco GUC Reserve”).

 III.    Stipulation and Consent Order Terms

         20.     Pursuant to the terms of the Stipulation and Consent Order attached hereto as

 Exhibit A, the Parties have agreed, without any admission of liability by the Liquidating Debtors

 and solely for purposes of resolving the Proofs of Claim (as defined in the Consent Order) and

 related liabilities asserted therein, that:


                 (i)      the United States shall have an allowed general unsecured claim in the
                          amount of $9,566,000 (which claim shall be allowed solely against the


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                       estate of Liquidating Debtor Arsynco as a Class 3C General Unsecured
                       Claim under and satisfied pursuant to the Plan) for EPA’s asserted past
                       and future response costs (the “EPA Allowed Claim”), and distribution on
                       account of such allowed claim will be made from the Arsynco GUC
                       Reserve as set forth in the Stipulation and Consent Order and deposited by
                       EPA into EPA’s Ventron/Velsicol Site Special Account. Upon EPA’s
                       receipt of the above distribution made with respect to the EPA Allowed
                       Claim from the Arsynco Estate and EPA’s transfer of such distribution
                       into the Ventron/Velsicol Site Special Account, the PRP Group agrees that
                       the approximately $1.4 million PRP Group Proof of Claim will be deemed
                       withdrawn with prejudice.

               (ii)    the United States, on behalf of DOI and NOAA, and the State of New
                       Jersey (collectively the “Trustees”) shall have an allowed general
                       unsecured claim in the amount of $8,215,000 (which claim shall be
                       allowed solely against the estate of Liquidating Debtor Arsynco as a Class
                       3C General Unsecured Claim under and satisfied pursuant to the Plan) for
                       asserted natural resource damages (the “NRD Allowed Claim”) and the
                       Liquidating Debtors, and the Trustees for natural resources on behalf of
                       the State of New Jersey and the United States, agree that distribution on
                       account of the NRD Allowed Claim shall be made by the Liquidating
                       Debtors to DOI from the Arsynco GUC Reserve as set forth in the
                       Stipulation and Consent Order for deposit into an interest-bearing DOI
                       special account for the BCSA as per the instructions set forth in the
                       Consent Order.

               (iii)   the above distributions to the United States from the Arsynco GUC
                       Reserve shall be in the form of cash and shall be distributed on a on a pro
                       rata basis to EPA and the Trustees from the Arsynco GUC Reserve.

        21.    Furthermore, the United States, the PRP Group, and New Jersey recognized and

 agreed that in light of the nature and de minimis amount of the Allowed Arsynco Service Claims,

 the Allowed Arsynco Service Claims in the aggregate amount of $4,119.25 will be paid in full by

 the Liquidating Debtors from the Arsynco GUC Reserve prior to distributions from the Arsynco

 GUC Reserve on account of the EPA Allowed Claim and NRD Allowed Claim.

        22.    Consistent with Paragraph 19 of the proposed Stipulation and Consent Order,

 notice of the lodging of the proposed Stipulation and Consent Order was filed with the Court by

 the United Stated [Docket No. 1426] and will be published by the United States and New Jersey

 in the Federal Register and the New Jersey Register, respectively, following which the United


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 States and New Jersey will accept public comments on the proposed Stipulation and Consent

 Order for a sixty-day period (the “Public Comment Period”). After the conclusion of the Public

 Comment Period, the United States and New Jersey will file with the Court any comments

 received, as well as responses to the comments and, at that time, if appropriate, the Parties will

 request that the Court approve the Stipulation and Consent Order.

                      RELIEF REQUESTED AND BASIS THEREFOR

        23.     By this Application, pursuant to Local Rule 9021-1(b), the Liquidating Debtors

 seek entry of the Stipulation and Consent Order attached hereto as Exhibit A.

        24.     Section 5.09(c)(ii) of the Plan and section 2.1(c)(ii) of the Plan Administrator

 Agreement grant the Plan Administrator with authority to reconcile and settle Claims asserted

 against the Liquidating Debtors.      Further, section 7.02 of the Plan authorized the Plan

 Administrator to settle or compromise any Disputed Claim (as defined in the Plan) without any

 further notice to or action, order, or approval by the Bankruptcy Court.        Nonetheless, the

 Liquidating Debtors seek entry of the Stipulation and Consent Order out of an abundance of

 caution.

        25.     The Liquidating Debtors respectfully submit that their entry into the Stipulation

 and Consent Order and the resolution of the Asserted Arsynco Environmental Claims as set forth

 in the Stipulation and Consent Order constitutes a reasonable exercise of their business

 judgment, is in the best interests of the Liquidating Debtors’ estates, and should be approved by

 this Court.

        26.     The Stipulation and Consent Order resolves over $27 million in general unsecured

 claims (plus other unliquidated amounts asserted in the Proofs of Claim) asserted against

 Arsynco. Litigation over these Claims would be lengthy and costly. Furthermore, the claims

 proposed to be allowed in the Stipulation and Consent Order represents allocation of the funds


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 available for distribution to the United States and NJDEP from the Arsynco GUC Reserve. The

 Allowed Arsynco Service Claims will be paid in full upon approval of the Stipulation and

 Consent Order.

        27.     Thus, subject to the conclusion of the 60-day Public Comment Period (as

 noted above) and the further request of the Parties (if appropriate), the Liquidating Debtors

 respectfully request that the Court approve and enter the Stipulation and Consent Order pursuant

 to Local Rule 9021-1(b).

        28.     Finally, as noted above, the Plan Administrator has consulted with and obtained

 the consent of the Oversight Committee with respect to the settlement contained in the

 Stipulation and Consent Order.

                                             NOTICE

        29.     Pursuant to section 12.07 of the Plan, in order to continue receiving documents

 pursuant to Bankruptcy Rule 2002 after the Effective Date, parties in interest are required to file

 with the Court a renewed request for such notice. Notice of this Application has been given to:

 (i) the Office of the United States Trustee for the District of New Jersey; (ii) Porzio, Bromberg &

 Newman, P.C., c/o Warren J. Martin, Jr., Esq., Robert M. Schechter, Esq., and Rachel A. Parisi,

 Esq., as counsel to the Oversight Committee; (iii) counsel for the United States, Catherine

 Adams Fiske, Esq. (addie.fiske@usdoj.gov); (iv) the U.S. Attorney’s Office for the District of

 New Jersey, c/o Eamonn O’Hagan, Esq. (Eamonn.OHagan@usdoj.gov); (v) counsel for NJDEP,

 Buffy L. Wilson, Esq. (buffy.wilson@law.njoag.gov); (vi) counsel for the PRP Group,

 Beveridge & Diamond PC, c/o James M. Auslander, Esq. (jauslander@bdlaw.com); (vii) JMC

 Environmental Consultants, Inc.; (viii) James Dillon; and (ix) all parties that have filed a

 renewed request to receive notice pursuant to Bankruptcy Rule 2002, as modified by section




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 12.07 of the Plan. In light of the nature of the relief requested herein, the Liquidating Debtors

 respectfully submit that no other or further notice is required.

                                           CONCLUSION

        WHEREFORE, the Liquidating Debtors respectfully request that, subject to the

 conclusion of the 60-day Public Comment Period (as noted above) and the further request

 of the Parties (if appropriate), this Court: (a) enter the Stipulation and Consent Order, attached

 hereto as Exhibit A, granting the relief requested herein; and (b) grant the Liquidating Debtors

 such other and further relief as the Court deems just and proper.


 Dated: February 23, 2021                               Respectfully submitted,

                                                        LOWENSTEIN SANDLER LLP

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                                                        Counsel to the Liquidating Debtors




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                          EXHIBIT A
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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF New Jersey
     Caption in Compliance with D.N.J. LBR 9004-1


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     Counsel for the Liquidating Debtors


     In re:                                                        Chapter 11

     Tri Harbor Holdings Corporation (f/k/a Aceto                  Case No. 19-13448 (VFP)
     Corporation), et al.,1
                                                                   (Jointly Administered)
                              Liquidating Debtors.


              STIPULATION AND CONSENT ORDER RESOLVING (A) CLAIM NO.
               191 FILED BY BERRY’S CREEK STUDY AREA COOPERATING PRP
                 GROUP, (B) CLAIM NO. 261 FILED BY THE UNITED STATES OF
               AMERICA, ON BEHALF OF THE ENVIRONMENTAL PROTECTION
              AGENCY, UNITED STATES DEPARTMENT OF COMMERCE ACTING
                  THROUGH THE NATIONAL OCEANIC AND ATMOSPHERIC
               ADMINISTRATION, AND UNITED STATES DEPARTMENT OF THE
                  INTERIOR, AND (C) CLAIM NO. 264 FILED BY NEW JERSEY
                      DEPARTMENT OF ENVIRONMENTAL PROTECTION

              The relief set forth on the following pages, numbered two (2) through twenty-five (25),

 is hereby ORDERED.



 1
   The Liquidating Debtors in these chapter 11 cases and the last four digits of each Liquidating Debtor’s taxpayer
 identification number are as follows: Tri Harbor Holdings Corporation (f/k/a Aceto Corporation) (0520); Tri Harbor
 Chemical Holdings LLC (f/k/a Aceto Agricultural Chemicals LLC, f/k/a Aceto Agricultural Chemicals Corporation)
 (3948); Tri Harbor Realty LLC (f/k/a Aceto Realty LLC) (7634); Kavod Pharmaceuticals LLC (f/k/a Rising
 Pharmaceuticals, LLC, f/k/a Rising Pharmaceuticals, Inc.) (7959); Kavod Health LLC (f/k/a Rising Health, LLC)
 (1562); Kavris Health LLC (f/k/a Acetris Health, LLC) (3236); KAVACK Pharmaceuticals LLC (f/k/a PACK
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 Debtor:     Tri Harbor Holdings Corporation (f/k/a Aceto Corporation), et al.
 Case No.:   19-13448 (VFP)
 Caption:    Stipulation And Consent Order Resolving (A) Claim No. 191 filed By Berry’s Creek
             Study Area Cooperating PRP Group, (b) Claim No. 261 Filed By The United States Of
             America, On Behalf Of The Environmental Protection Agency, United States
             Department Of Commerce Acting Through The National Oceanic And Atmospheric
             Administration, And United States Department Of The Interior, And (c) Claim No. 264
             Filed By New Jersey Department Of Environmental Protection

        WHEREAS, each of the above-captioned liquidating debtors (the “Liquidating

 Debtors”) filed with the United States Bankruptcy Court for the District of New Jersey (“the

 Bankruptcy Court”) a voluntary petition for relief under Chapter 11 of Title 11 of the United

 States Code (the “Bankruptcy Code”), which cases have been jointly administered as In re: Tri

 Harbor Holdings Corporation (f/k/a Aceto Corporation), et al., Case No. 19-13448 (VFP) (the

 “Bankruptcy Case”);

        WHEREAS, the United States of America, on behalf of the United States Environmental

 Protection Agency (“EPA”), the United States Department of Commerce acting through the

 National Oceanic and Atmospheric Administration (“NOAA”), and the United States

 Department of the Interior (“DOI”) (with the DOI, EPA, and NOAA, collectively referred to

 herein as the “United States”) has filed a proof of claim (Claim No. 261) (the “United States

 Proof of Claim”), contending, inter alia, that one of the Liquidating Debtors, Arsynco, Inc.

 (“Arsynco” or the “Debtor”) is liable under the Comprehensive Environmental Response,

 Compensation, and Liability Act (“CERCLA”), 42 U.S.C. §§ 9601-9675, for the recovery of: (i)

 response costs incurred or to be incurred by the United States; and (ii) natural resource damages

 and assessment costs. The United States Proof of Claim covers claims by the United States

 concerning multiple sites:

        a. The Berry's Creek Study Area (“BCSA”) operable unit of the Ventron/Velsicol

        Superfund Site, located in Bergen County, New Jersey; and



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 Debtor:      Tri Harbor Holdings Corporation (f/k/a Aceto Corporation), et al.
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              Department Of Commerce Acting Through The National Oceanic And Atmospheric
              Administration, And United States Department Of The Interior, And (c) Claim No. 264
              Filed By New Jersey Department Of Environmental Protection

         b. A 12.3-acre parcel of property located at 511 13th Street in Carlstadt, New Jersey

         (the “Carlstadt Property” or “Former Arsynco Facility”).

         WHEREAS, the United States Proof of Claim sets forth the United States’ position that

 the Debtor’s obligation to comply with work obligations, including but not limited to cleanup

 obligations with respect to the Former Arsynco Facility, under court orders, administrative

 orders, environmental statutes, regulations, licenses, and permits is not a claim under 11 U.S.C.

 § 101(5) and therefore is not subject to discharge pursuant to Section 1141 of the Bankruptcy

 Code;

         WHEREAS, the New Jersey Department of Environmental Protection (the “State” or

 “New Jersey”) has filed a proof of claim (Claim No. 264) (“New Jersey Proof of Claim”)

 contending, inter alia, that Arsynco is liable under applicable federal and state environmental

 statutes and regulations including the New Jersey Spill Compensation and Control Act (“Spill

 Act”), N.J.S.A. 58:10-23.11 to -23.24, CERCLA, 42 U.S.C. §§ 9601-9675, for, among other

 things, natural resource damages, remediation costs, and assessment costs in connection with the

 BCSA and/or the Former Arsynco Facility.

         WHEREAS, the Berry’s Creek Study Area Cooperating PRP Group (the “PRP Group”),2

 implementing response actions at the BSCA, has filed a proof of claim (Claim No. 191, the “PRP




 2
  A list of the Group Members as of the time of the filing of the PRP Group Proof of Claim is attached to the PRP
 Proof of Claim.


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 Debtor:     Tri Harbor Holdings Corporation (f/k/a Aceto Corporation), et al.
 Case No.:   19-13448 (VFP)
 Caption:    Stipulation And Consent Order Resolving (A) Claim No. 191 filed By Berry’s Creek
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             Department Of Commerce Acting Through The National Oceanic And Atmospheric
             Administration, And United States Department Of The Interior, And (c) Claim No. 264
             Filed By New Jersey Department Of Environmental Protection

 Group Proof of Claim”, and together with the United States Proof of Claim and the New Jersey

 Proof of Claim, collectively, the “Proofs of Claim”) contending, inter alia, that Arsynco is liable

 under CERCLA, 42 U.S.C. §§ 9601-9675 for response action, response costs, and damages for

 injuries to natural resources at the BCSA.

        WHEREAS, each of the Proofs of Claim asserts the aforementioned liabilities as general

 unsecured claims against Debtor Arsynco;

        WHEREAS, the Liquidating Debtors disagree with the contentions set forth in each of

 the Proofs of Claim and, but for this Settlement Agreement, would dispute, in whole or in part,

 any liability with respect the Proofs of Claim;

        WHEREAS, the Liquidating Debtors, the United States, the PRP Group, and New Jersey

 (collectively, the “Parties”) wish to resolve the liabilities asserted in the Proofs of Claim as

 provided herein;

        WHEREAS, other than the Proofs of Claim (which claims are being resolved as set forth

 herein), only two other parties, JMC Environmental Consultants, Inc. (“JMC”) and James Dillon

 (“Dillon”), have filed and hold allowed Class 3C General Unsecured Claims against Arsynco

 under and pursuant to the Liquidating Debtors’ Second Modified Joint Plan of Liquidation of

 Aceto Corporation and its Affiliated Debtors [Docket No. 757] dated as of July 23, 2019 (the




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 “Plan”),3 as confirmed by an order entered by this Court on September 18, 2019 [Docket No.

 996] (the “Confirmation Order”);

            WHEREAS, JMC holds an allowed Class 3C General Unsecured Claim, Claim No. 63, in

 the amount of $1,750.00 (the “Allowed JMC Claim”) and Dillon holds an allowed Class 3C

 General Unsecured Claim, Claim No. 126, in the amount of $2,369.25 (the “Allowed Dillon

 Claim”, and together with the Allowed JMC Claim, collectively, the “Allowed Arsynco Service

 Claims”);

            WHEREAS, as of the date hereof, the Arsynco Net Distributable Assets available for

 distribution to holders of allowed Class 3C General Unsecured Claims against Arsynco consists

 of cash in the approximate amount of $538,965.64 (the “Arsynco GUC Reserve”) and it is not

 anticipated that this cash will be converted to any other type of asset;

            WHEREAS, this Settlement Agreement is in the public interest and is an appropriate

 means of resolving these matters;

            NOW, THEREFORE, without any admission of liability by Arsynco or any of the other

 Liquidating Debtors or the deemed adjudication of any issue of fact or law, and upon the consent

 and agreement of the Parties to this Settlement Agreement by their attorneys and authorized

 officials, and solely for purposes of this Bankruptcy Case and resolving the Proofs of Claim and

 related liabilities asserted therein, the Parties hereby agree as follows:


 3
     Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such term under the Plan.


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        1.   The Bankruptcy Court has jurisdiction over the subject matter hereof pursuant to 28

 U.S.C. §§ 157, 1331, and 1334, and 42 U.S.C. §§ 9607 and 9613(b).

        2.   With respect to the Proof of Claims asserted against Arsynco with respect to the BCSA

 and the Former Arsynco Facility:

                    a. the United States, on behalf of EPA, shall have an allowed general

                         unsecured claim in the amount of $9,566,000 for asserted response costs

                         (the “EPA Allowed Claim”), which claim shall be allowed solely against

                         the estate of Arsynco as a Class 3C General Unsecured Claim under and

                         satisfied pursuant to the Plan; and

                    b.   the United States, on behalf of DOI and NOAA, and the State of New

                         Jersey, collectively the “Trustees”, shall have an allowed claim of

                         $8,215,000 for asserted natural resource damages (the “NRD Allowed

                         Claim”), which claim shall be allowed solely against the estate of Arsynco

                         as a Class 3C General Unsecured Claim under and satisfied pursuant to the

                         Plan.

                    c. The above distributions to the United States from the Arsynco GUC

                         Reserve shall be in the form of cash and shall be distributed on a on a pro

                         rata basis to EPA and the Trustees.




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        3.   The EPA Allowed Claim and NRD Allowed Claim shall, subject to the last clause of

 this paragraph with respect to the Allowed Arsynco Service Claims, receive the same treatment

 under the Plan, without discrimination, as all other allowed Class 3C General Unsecured Claims,

 with all attendant rights provided by the Bankruptcy Code and other applicable law, and shall not

 be entitled to any priority in distribution over other allowed Class 3C General Unsecured Claims.

 The EPA Allowed Claim and the NRD Allowed Claim, aside from the Allowed Arsynco Service

 Claims, shall be the only allowed Class 3C General Unsecured Claims entitled to share in

 distributions from the Arsynco GUC Reserve. In no event shall the EPA Allowed Claim and

 NRD Allowed Claims be subordinated to any other allowed Class 3C General Unsecured Claim

 pursuant to any provision of the Bankruptcy Code or other applicable law that authorizes or

 provides for subordination of allowed claims, including, without limitation, Sections 105, 510,

 and 726(a)(4) of the Bankruptcy Code; provided, however, that the United States, the PRP

 Group, and New Jersey recognize and agree that in light of the nature and de minimis amount of

 the Allowed Arsynco Service Claims, the Allowed Arsynco Service Claims in the aggregate

 amount of $4,119.25 shall be paid in full from the Arsynco GUC Reserve prior to the

 distributions on account of the EPA Allowed Claim and NRD Allowed Claim from the Arsynco

 GUC Reserve.

        4.   With respect to the EPA Allowed Claim, EPA will deposit any portion of any

 distributions it receives pursuant to this Settlement Agreement into the special account



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 established by EPA for the BCSA within the Hazardous Substance Superfund pursuant to

 Section 122(b)(3), 42 U.S.C. § 9622(b)(3), known as EPA’s Ventron/Velsicol Site Special

 Account, to be retained and used to conduct or finance response actions at or in connection with

 the BCSA (or another portion of the Ventron/Velsicol Site, if EPA determines, in its sole

 discretion, that such funds are not needed at or in connection with the BCSA), or transferred by

 EPA to the EPA Hazardous Substance Superfund. Specifically, it is EPA’s intent to use the

 amount placed in the Ventron/Velsicol Site Special Account from this bankruptcy to pay for

 future response costs related to remedial action at the BCSA, and to subtract that amount in

 EPA’s first periodic bill to the PRP Group, or members thereof, for future response costs for

 remedial action at the BCSA.

        5.   Upon EPA’s receipt of the distribution made with respect to the EPA Allowed Claim

 under the above Paragraph, the PRP Group’s Proof of Claim shall be deemed withdrawn with

 prejudice and shall be marked as expunged.

        6.   With respect to the NRD Allowed Claim, New Jersey and the United States on

 behalf of NOAA and DOI, agree that any distributions on account of such claim pursuant to the

 Plan shall be made to DOI for deposit into an interest-bearing DOI special account for the BCSA

 and identified as associated with the Aceto/Arsynco Bankruptcy as per the instructions set forth

 below. NOAA, DOI, and New Jersey agree that any such funds may only be disbursed from

 such account upon the unanimous written agreement of DOI, NOAA, and New Jersey in



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 accordance with a written Memorandum of Agreement to be developed between DOI, NOAA,

 and New Jersey for such funds that specifies, inter alia, that such funds may only be expended

 for natural resource restoration planning and implementation related to the natural resource

 injuries concerning the BCSA.

           7.   Only the amount of cash received by the EPA pursuant to this Settlement Agreement

 on account of the EPA Allowed Claim, and not the total amount of the EPA Allowed Claim,

 shall be credited as a recovery by EPA for the BCSA, which credit shall reduce the liability of

 non-settling potentially responsible parties for response costs at the BCSA by the amount of the

 credit.

           8.   Only the total amount of cash received by the DOI pursuant to this Settlement

 Agreement for the NRD Allowed Claim, and not the total amount of the NRD Allowed Claim,

 shall be credited as a recovery by DOI, NOAA, and New Jersey for the natural resources

 damages concerning BCSA, which credit shall reduce the liability of non-settling potentially

 responsible parties for NRD at the BCSA by the amount of the credit.

           9.   Distributions to the United States pursuant to this Settlement Agreement shall be

 made as follows:

                       a. For the EPA Allowed Claim, at https://www.pay.gov or by FedWire

                          Electronic Funds Transfer in accordance with instructions, including a

                          Consolidated Debt Collection System (“CDCS”) number, to be provided



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                       to the Liquidating Debtors by the Financial Litigation Unit of the United

                       States Attorney’s Office for the District of New Jersey.

                At the time of any distribution pursuant to this Settlement Agreement, the

 Liquidating Debtors shall transmit written confirmation of such distribution (with email being an

 acceptable form of electronic written confirmation provided that each of the email addresses

 listed below is copied) to the United States at the addresses specified below, and email

 confirmation of such distribution to the EPA Cincinnati Finance Office at

 cinwd_acctsreceivable@epa.gov, with a reference to Bankruptcy Case Number 19-13448 (VFP),

 the CDCS number, and Site/Spill ID Number 02C7:

                       Chief, Environmental Enforcement Section
                       Environment and Natural Resources Division
                       U.S. Department of Justice
                       P.O. Box 7611
                       Washington, DC 20044
                       Ref. DOJ File No. 90-11-3-12141/1
                       TMariani@enrd.usdoj.gov


                       Clay Monroe
                       Assistant Regional Counsel
                       EPA, Region 2
                       290 Broadway, 17th floor
                       New York, NY 10007
                       Phone: (212) 637-3142
                       monroe.clay@epa.gov




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 At the same time, Email confirmation shall also be sent to the following address:


                       John Hanson
                       Common Counsel to the Berry’s Creek Cooperating PRP Group
                       Beveridge & Diamond, P.C.
                       1350 I Street, NW, Suite 700
                       Washington, DC 20005
                       (202) 789-6015
                       jhanson@bdlaw.com
                       cc: jauslander@bdlaw.com

                    b. For the NRD Allowed Claim, the funds shall be transferred to the DOI

                       BSCA Aceto/Arsynco Special Account via an Electronic Funds Transfer

                       (“EFT”) through the U.S. Treasury’s Automated Clearing House

                       (ACH)/Remittance Express program in accordance with instructions to be

                       provided by DOI within 15 days of the date of the entry of this Stipulation

                       and Consent Order. Payment shall be deemed to have been made upon

                       receipt of these funds by EFT. At the time of any distribution pursuant to

                       this Settlement Agreement, the Liquidating Debtors shall transmit written

                       confirmation of such distribution (with email being an acceptable form of

                       electronic written confirmation provided that each of the email addresses

                       listed below is copied), including a copy of the paperwork documenting the

                       EFT and any accompanying correspondence, to the following persons:




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                               Natural Resource Damage Assessment and Restoration Program
                               Attn: Restoration Fund Manager
                               Mail Stop 4449
                               1849 C Street, N.W.
                               Washington, D.C. 20240
                               Bruce_A_Nesslage@ios.doi.gov

                               NOAA/NOS/OR&R
                               ATTN: Donna Roberts, DARRF Manager
                               1305 East West Highway
                               SSMC4, Room 9331
                               Silver Spring, Maryland 20910-3281
                               Donna.Roberts@NOAA.gov


                               Mark Barash, Esq.
                               Senior Attorney
                               Office of the Solicitor of the United States Department of the Interior
                               15 State St., 8th Floor
                               Boston, MA 02109-3502
                               mark.barash@sol.doi.gov


                               NOAA/U.S. Department of Commerce
                               NOAA Office of Response and Restoration
                               Attn: Sabrina Valenti, DARF Manager
                               1315 East-West Highway
                               Silver Spring, MD 20910-3281
                               Sabrina.Valenti@noaa.gov
                               Cc: Nancy.Berube@noaa.gov


                               Kate Barfield
                               National Oceanic and Atmospheric Administration
                               Office of General Counsel Natural Resources
                               1315 East-West Highway
                               SSMC3# Room 15107
                               Silver Spring, MD 20910-3282
                               kate.barfield@noaa.gov



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                               David Bean, Chief
                               Office of Natural Resource Restoration
                               New Jersey Department of Environmental Protection
                               Mail Code 501-01
                               1st Floor, 501 East State Street. P.O. Box 420
                               Trenton, NJ 08625
                               David.Bean@dep.nj.gov

                               and

                               John Hanson
                               Common Counsel to the Berry’s Creek Cooperating PRP Group
                               Beveridge & Diamond, P.C.
                               1350 I Street, NW, Suite 700
                               Washington, DC 20005
                               (202) 789-6015
                               jhanson@bdlaw.com
                               cc: jauslander@bdlaw.com


        Notices shall reference the DOJ Case Number (90-11-3-12141/1), the Aceto/Arsynco

 Bankruptcy, the BCSA, and the name of debtors.

        10. In consideration of the distributions that will be made under the terms of this

 Settlement Agreement with respect to the EPA Allowed Claim and NRD Allowed Claim, and

 except as specifically provided in Paragraphs 11-13, EPA covenants not to file a civil action or

 take administrative action (or otherwise pursue any other or further claims or recoveries with

 respect to any such claim) against the Liquidating Debtors (or their estates) or the Plan

 Administrator for response costs pursuant to Sections 106 or 107 of CERCLA, 42 U.S.C. §§

 9606 or 9607 (or any other claim(s) asserted in the Proofs of Claim that would be deemed a

 claim under 11 U.S.C. § 101(5) and therefore subject to treatment under the Plan), with respect


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 to the BCSA and/or the Former Arsynco Facility; NOAA, DOI, and New Jersey covenant not to

 file a civil action or take administrative action (or otherwise pursue any other or further claims or

 recoveries with respect to any such claim) against the Liquidating Debtors (or their estates) or

 the Plan Administrator for natural resource damages and assessment costs pursuant to Section

 107 of CERCLA, 42 U.S.C. § 9607 (or any other claim(s) asserted in the Proofs of Claim that

 would be deemed a claim under 11 U.S.C. § 101(5) and therefore subject to treatment under the

 Plan), with respect to the BCSA and/or the Former Arsynco Facility; and the PRP Group

 covenants not to file a civil or other action (or otherwise pursue any other or further claims or

 recoveries with respect to any such claim) against the Liquidating Debtors (or their estates) or

 the Plan Administrator for claim(s) asserted in the PRP Proof of Claim.

        11. The covenant and agreement set forth in Paragraphs 5 and 10 above extends only to

 the Liquidating Debtors and the Plan Administrator and does not extend to any other person.

 Nothing in this Settlement Agreement is intended as a covenant or agreement for any person or

 entity other than the Liquidating Debtors, the Plan Administrator, the United States, the PRP

 Group and New Jersey. The United States, New Jersey, the PRP Group, and the Liquidating

 Debtors expressly reserve all claims, demands, and causes of action, either judicial or

 administrative, past, present, or future, in law or equity, which they may have against all other

 persons, firms, corporations, entities, or predecessors of the Liquidating Debtors for any matter

 arising at or relating in any manner to the BCSA to the extent not resolved or settled as set forth



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 herein. Further, nothing in this Settlement Agreement diminishes the right of the United States,

 pursuant to Section 113(f)(2) and (3) of CERCLA, 42 U.S.C. § 9613(f)(2)-(3), to enter into any

 settlement that gives rise to contribution protection for any person not a party to this Settlement

 Agreement.

        12. The covenant and agreement set forth in Paragraphs 5 and 10 does not pertain to any

 matters other than those expressly specified therein. The United States, New Jersey, and the PRP

 Group expressly reserve, and this Settlement Agreement is without prejudice to, all rights against

 the Liquidating Debtors and the Plan Administrator with respect to all matters other than those

 settled herein, including as set forth in Paragraphs 5 and 10. The United States, New Jersey, and

 the PRP Group also specifically reserve, and this Settlement Agreement is without prejudice to,

 any action based on a failure to meet a requirement of this Settlement Agreement. In addition,

 the United States, New Jersey, and the PRP Group reserve, and this Settlement Agreement is

 without prejudice to, all rights against the Liquidating Debtors, their successors or assigns (if

 any), or the Plan Administrator with respect to the BCSA for liability under federal or state law

 for acts creating liability by the Liquidating Debtors, their successor or assigns (if any), the Plan

 Administrator that occur(s) after the date of lodging of this Settlement Agreement with the

 Bankruptcy Court and in such event any claim shall not be barred by any applicable provision of

 the Confirmation Order or Plan. As used in the preceding sentence, the phrase “acts creating

 liability” does not include actions (including any passive continuing releases) related to the



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 Liquidating Debtors’ or the Plan Administrator’s conduct prior to the date this Settlement

 Agreement is approved by the Bankruptcy Court.

        13. Nothing in this Settlement Agreement shall be deemed to limit the authority of the

 United States or New Jersey to take any response action under Section 104 of CERCLA,

 42 U.S.C. § 9604, or any other applicable statute or regulation, or to alter the applicable legal

 principles governing judicial review of any action taken by the United States pursuant to such

 authority, provided, however, that nothing in this sentence affects the covenants or agreements

 set forth in Paragraphs 5 and 10. For the avoidance of doubt, to the extent claims of the United

 States or New Jersey were required to be filed prior to any bar date set by the Bankruptcy Court

 (including pursuant to the Bar Date Order (as defined below), Plan or Confirmation Order), this

 paragraph shall not be deemed to be a waiver of such requirement. Nothing in this Settlement

 Agreement shall be deemed to limit the information-gathering authority of the United States or

 New Jersey under Sections 104 and 122 of CERCLA, 42 U.S.C. §§ 9604 and 9622, or any other

 applicable statute or regulation, or to excuse the Debtor from any disclosure or notification

 requirements imposed by CERCLA or any other applicable statute or regulation.

        14. The Liquidating Debtors and the Plan Administrator covenant not to sue and agree

 not to assert or pursue any claims or causes of action against the United States, and New Jersey,

 including any department, agency, or instrumentality of the United States and New Jersey, or

 against the PRP Group or members thereof, with respect to the BCSA, including, but not limited



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 to: (i) any direct or indirect claim for reimbursement from the Hazardous Substance Superfund

 established pursuant to 26 U.S.C. § 9507; (ii) any claim under Sections 107 or 113 of CERCLA,

 42 U.S.C. §§ 9607 or 9613, or Section 7002(a) of RCRA, 42 U.S.C. § 6972(a); (iii) any claims

 arising out of response activities at the BCSA; or (iv) any claims arising out of or relating to the

 Debtors’ Bankruptcy Cases. Nothing in this Settlement Agreement shall be deemed to constitute

 preauthorization of a claim within the meaning of Section 111 of CERCLA, 42 U.S.C. § 9611, or

 40 C.F.R. § 300.700(d).

        15. Notwithstanding any other provision of this Settlement Agreement, the Liquidating

 Debtors reserve, and this Settlement Agreement (including but not limited to Paragraph 14

 hereof) is without prejudice to, respective claims against the United States, the PRP Group (or

 members thereof) or New Jersey in the event any claim is respectively asserted by the United

 States, the PRP Group or members thereof, or New Jersey against the Liquidating Debtors

 pursuant to any of the reservations set forth in Paragraph 12, other than for failure to meet a

 requirement of this Settlement Agreement, but only to the extent that the Liquidating Debtors’

 claims arise from the same respective response action or response costs that the United States,

 the PRP Group or members thereof, or New Jersey is seeking pursuant to the applicable

 reservation.

        16. The Parties hereto agree, and by entering this Settlement Agreement the Bankruptcy

 Court finds, that this Settlement Agreement constitutes a judicially-approved settlement pursuant



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             Department Of Commerce Acting Through The National Oceanic And Atmospheric
             Administration, And United States Department Of The Interior, And (c) Claim No. 264
             Filed By New Jersey Department Of Environmental Protection

 to which each Liquidating Debtor has, as of the Effective Date, resolved liability to the United

 States and New Jersey within the meaning of Section 113(f)(2) of CERCLA, 42 U.S.C. §

 9613(f)(2), and N.J.S.A. 58:10-23.11f.a.(2)(b), and is entitled, as of the Effective Date, to

 protection from contribution actions or claims as provided by Section 113(f)(2) of CERCLA, and

 N.J.S.A. 58:10-23.11f.a.(2)(b), or as may be otherwise provided by law, for the “matters

 addressed” in this Settlement Agreement. The “matters addressed” in this Settlement Agreement

 are all response actions taken or to be taken, and all response costs incurred or to be incurred, at

 or in connection with the BCSA by the United States, New Jersey, or any potentially responsible

 parties, and all natural resource damages concerning the BCSA provided, however, that, if the

 United States or New Jersey exercises rights under the reservations in Paragraph 12, other than

 for failure to meet a requirement of this Settlement Agreement, the “matters addressed” in this

 Settlement Agreement shall no longer include those response costs, response actions, and/or

 natural resource damages that are within the scope of the exercised reservation. “Effective Date”

 means the date on which this Settlement Agreement is approved by the Bankruptcy Court.

        17. This Settlement Agreement constitutes a judicially-approved settlement pursuant to

 which each of the Liquidating Debtors has, as of the Effective Date, resolved liability to the

 United States and New Jersey within the meaning of Section 113(f)(3)(B) of CERCLA, 42

 U.S.C. § 9613(f)(3)(B) and N.J.S.A. 58:10-23.11f.a.(2)(b).




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        18. This Settlement Agreement shall be subject to approval of the Bankruptcy Court.

 The Liquidating Debtors shall promptly seek approval of this Settlement Agreement pursuant to

 D.N.J. LBR 9021-1 and the Liquidating Debtors’ and Plan Administrator’s authority to settle

 disputed claims (including the Proofs of Claim) under the Plan.

        19. This Settlement Agreement shall be lodged with the Bankruptcy Court and shall

 thereafter be subject to a period of public comment following publication of notice of the

 Settlement Agreement in the Federal Register and the New Jersey Register. After the conclusion

 of the public comment period, the United States and New Jersey will file with the Bankruptcy

 Court any comments received, as well as the United States’ and New Jersey’s responses to the

 comments received under their respective solicitations of public comment, and at that time, if

 appropriate under their respective statutory authorities, the United States and New Jersey will

 request approval of the Settlement Agreement. The United States and/or New Jersey reserve(s)

 the right to withdraw or withhold consent if the comments regarding the Settlement Agreement

 disclose facts or considerations which indicate that the Settlement Agreement is not in the public

 interest under their respective statutory authorities.

        20. If for any reason (a) the Settlement Agreement is withdrawn by the United States or

 New Jersey as provided in Paragraph 19, or (b) the Settlement Agreement is not approved by the

 Bankruptcy Court: (i) this Settlement Agreement shall be null and void, and the parties hereto

 shall not be bound under the Settlement Agreement or under any documents executed in



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 connection herewith; (ii) the parties shall have no liability to one another arising out of or in

 connection with this Settlement Agreement or under any documents executed in connection

 herewith; and (iii) this Settlement Agreement and any documents prepared in connection

 herewith shall have no residual or probative effect or value.

         21. Nothing herein, including but not limited to Paragraphs 10, 13, and 15 above, shall

 be deemed to extend any deadline for filing proofs of claim by any party in the Chapter 11 Cases

 established by the (a) Order (A) Establishing Deadlines to File Proofs of Claim Against the

 Debtors, Including But Not Limited to Claims Arising Under Section 503(b)(9) of the Bankruptcy

 Code, (B) Approving the Form and Manner of Notice of the Bar Dates, (C) Authorizing

 Publication of the Bar Dates, and (D) Granting Related Relief [Docket No. 509] entered by the

 Bankruptcy Court on May 9, 2019 (the “Bar Date Order”), (b) Confirmation Order, or (c) the

 Plan.

         22. This Settlement Agreement constitutes the sole and complete agreement of the

 Parties hereto with respect to the matters addressed herein.

         23. This Settlement Agreement may not be amended except by a writing signed by all

 the Parties and approved by the Bankruptcy Court.

         24. Each of the undersigned represents that it is authorized to execute this Settlement

 Agreement on behalf of the party or parties it is executing on behalf of.




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        25. This Settlement Agreement may be executed in counterparts, each of which shall

 constitute an original, and all of which shall constitute one and the same agreement.

        26. The Bankruptcy Court (or, upon withdrawal of the Bankruptcy Court’s reference, the

 United States District Court for the District of New Jersey) shall retain jurisdiction over the

 subject matter of this Settlement Agreement and the Parties hereto for the duration of the

 performance of the terms and provisions of this Settlement Agreement for the purpose of

 enabling any of the parties to apply at any time for such further order, direction, and relief as

 may be necessary or appropriate for the construction or interpretation of this Settlement

 Agreement or to effectuate or enforce compliance with its terms.




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 The undersigned party hereby enters into this Settlement Agreement in In re: Tri Harbor
 Holdings Corporation (f/k/a Aceto Corporation), et al., Case No. 19-13448 (VFP) (Bankr. N.J.).


 FOR THE UNITED STATES OF AMERICA:


                                          Nathaniel Douglas
                                          Deputy Section Chief
                                          Environmental Enforcement Section
                                          Environment and Natural Resources Division
                                          U.S. Department of Justice



 Date: Feb. 22, 2021                  By: /s/ C. A. Fiske
                                          Catherine Adams Fiske
                                          Senior Counsel
                                          Environmental Enforcement Section
                                          Environment and Natural Resources Division
                                          U.S. Department of Justice
                                          P.O. Box 7611
                                          Washington, DC 20044




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 FOR THE NEW JERSEY DEPARTMENT OF ENVIRONMENTAL PROTECTION:



 Date: 2/19/21                        By:
                                            Raymond Bukowski
                                            Assistant Commissioner
                                            Natural & Historic Resources
                                            401 East State Street, P.O. Box 420
                                            Trenton, NJ 08625-0420



                                            Gurbir S. Grewal, Attorney General of New Jersey
                                            Attorney for the New Jersey Department of
                                            Environmental Protection


 Date: February 11, 2021              By: /s/ Buffy L. Wilson
                                          Buffy L. Wilson
                                          Deputy Attorney General
                                          25 Market Street, PO Box 093
                                          Trenton, NJ 08625-0093
                                          buffy.wilson@law.njoag.gov




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 COMMON COUNSEL FOR THE BCSA COOPERATING PRP GROUP:



 Date: January 29, 2021               By:
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                                             Beveridge & Diamond, P.C.
                                             1900 N Street, NW, Suite 100
                                             Washington, DC 20036
                                             (202) 789-6015
                                             jhanson@bdlaw.com
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 FOR THE LIQUIDATING DEBTORS:



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  Counsel for the Liquidating Debtors


      Date: February 22, 2021




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